Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF OKLAHOMA

  1.     MARILYN ANN PHILLIPS,                 )
                                               )
                 Plaintiff,                    )
                                               )
       vs.                                     )      Case No. 17-CV-547-JHP-JFJ
                                               )
  1.     FARMERS INSURANCE                     )
         COMPANY, INC.,                        )
                                               )
                 Defendant.                    )

  BRIEF IN SUPPORT OF MOTION IN LIMINE OF DEFENDANT, FARMERS INSURANCE COMPANY, INC.

                                          INTRODUCTION

         This action arises from an automobile accident occurring on August 27, 2012, in Tulsa

  County, Oklahoma, in which the vehicle occupied by Plaintiff and her husband was struck by

  another vehicle which was the cause of the accident. The liability insurer for tortfeasor has paid

  its liability limits. In the present action, Plaintiff seek underinsured motorist benefits under a

  policy of insurance issued by Defendant, Farmers Insurance Company.

         In its answer, Farmers has admitted that the other driver was responsible for the accident.

  Further, it has admitted that Plaintiff was injured and required medical treatment. Farmers,

  however, contests the cause, nature and extent of injuries that Plaintiff claims resulted from the

  accident.

         Plaintiff claims to have sustained numerous injuries due to the accident, requiring medical

  treatment. Her medical bills have been paid by her and her health insurance, including Medicare,

  with a substantial portion of the bill reduced or “written off” pursuant to an apparent agreement

  between the provider and insurer. Title 12 O.S. § 3009.1 limits the amount of medical bills that

  can be recovered to those sums paid by Plaintiff or health insurance, including Medicare. The
Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 2 of 7




  amounts billed and the amounts written off are not relevant to any of the issues presented by the

  litigation.

          Plaintiff has retained Richard A. Hastings, II, D.O., Ph. D, as an expert medical witness.

  Dr. Hastings has reviewed medical records and conducted a physical examination of Plaintiff. He

  has provided a written report and supplemental report identifying Plaintiff’s injuries he contends

  were caused by the accident, treatment and prognoses for her injuries. Part of his written report

  sets out percentages of whole person permanent partial impairment resulting from the subject

  injuries. While permanent partial impairment rating is a cornerstone of Oklahoma’s workers

  compensation system, such rating is irrelevant to an action for underinsured motorist benefits. This

  information should not be presented to the jury.

                                     ARGUMENTS AND AUTHORITIES

  MOTION IN LIMINE

          “A creature of neither the Federal Rules of Civil Procedure nor the Federal Rules of

  Evidence, the motion in limine gives the court the opportunity to take up before trial those certain

  and limited evidentiary issues in order to minimize interruptions at trial.” Deghand v Wal-Mart

  Stores, Inc., 980 F. Supp. 1176, 1179 (D. Kan. 1997). The trial court has broad discretion in

  addressing a motion in limine.

          The propriety of entering an order in limine depends on the particular situation. If
          the admissibility of certain evidence turns upon what facts are developed at trial,
          it is the better practice to wait until trial to decide the objections. In its discretion,
          the court may decline deciding a motion in limine which would have little impact
          on the parties’ evidentiary burdens or preparation for trial. A ruling in limine may
          be subject to change based upon developments at trial, and the ruling does not
          remove the obligation of the party to object, to move to strike, or to make offers
          of proof.

  Id. at 1179-1180. A motion in limine is preliminary or advisory and subject to change. It is a

  device “to rule in advance of trial on possible evidentiary disputes, because this may avoid a
Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 3 of 7




  lengthy interruption during the trial to resolve objections to evidence.” Rodgers v. Beechcraft

  Corporation, Case No. 15-CV-0129-CVE-PJC (N.D. OK. 2018).

         Defendant submits that the subject matters of its motion in limine are appropriate for the

  Court’s consideration before trial and that a ruling will eliminate the need to address them at trial.

  TITLE 12 O.S. § 3009.1 LIMITS EVIDENCE OF MEDICAL BILLS TO THOSE PAID OF OWED

         In 2011, Oklahoma altered the collateral source rule as it applied to the recovery of

  medical bills in a personal injury action, including an action against the Plaintiff’s uninsured

  motorist carrier. Title 12 O.S. § 3009.1 provided:

         A. Upon the trial of any civil case involving personal injury, the actual amounts
         paid for any doctor bills, hospital bills, ambulance service bills, drug bills and
         similar bills for expenses incurred in the treatment of the party shall be the
         amounts admissible at trial, not the amounts billed for expenses incurred in the
         treatment of the party. If, in addition to evidence of payment, a signed statement
         acknowledged by the medical provider or an authorized representative that the
         provider in consideration of the patient’s efforts to collect the funds to pay the
         provider, will accept the amount paid as full payment of the obligations is also
         admitted. The statement shall be part of the record as an exhibit but need not be
         shown to the jury. Provided, if a medical provider has filed a lien in the case for
         an amount in excess of the amount paid, then bills in excess of the amount paid
         but not more than the amount of the lien shall be admissible. If no payment has
         been made, the Medicare reimbursement rates in effect when the personal injury
         occurred shall be admissible if, in addition to evidence of nonpayment, a signed
         statement acknowledged by the medical provider or an authorized representative
         that the provider, in consideration of the patient’s efforts to collect the funds to
         pay the provider, will accept payment at the Medicare reimbursement rate less
         cost of recovery as provided in Medicare regulations as full payment of the
         obligation is also admitted. The statement shall be part of the record as an exhibit
         but need not be shown to the jury. Provided, if a medical provider has filed a lien
         in the case for an amount in excess of the Medicare rate, then bills in excess of the
         amount of the Medicare rate but not more than the amount of the lien shall be
         admissible.
         B. This section shall apply to civil cases involving personal injury filed on or after
         November 1, 2011.1
  The validity of § 3009.1 was upheld on state constitutional grounds in Lee v. Bueno, 2016 OK


  1 The statute was amended effective 2015 after Plaintiff’s accident. As discussed below, the
  statute is substantive rule of evidence to which Oklahoma law applies.
Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 4 of 7




  97, 381 P.3d 736. With the adoption of this statute, the Oklahoma Legislature “determined that

  injured parties in a personal injury action will not be able to admit evidence of, and therefore

  recover damages for, amounts they or their insurer were billed for treatment but are not required

  to pay.” Id. at 752, ¶ 48. Section 3009.1 “specifically prevents . . . [Plaintiff] from admitting the

  amount billed but not paid, into evidence.” Id. ¶ 49.

          The question has been raised as to whether § 3009.1 is applicable in federal court. This

  Court has held that the collateral source rule is a matter of substantive law and therefore Oklahoma

  law applies. Simpson v. Saks Fifth Avenue, Case No. 07-CV-0157-CVE-PJC (N.D. OK. 2008).

  The modification of the rule would likewise be controlled by Oklahoma law. This result was

  reached in Cameron v. Bartel Truck Line, LLC, Case No. CIV-14-553-R (W.D. OK. 2015).2

          It is submitted that § 3009.1 limits evidence of medical bills to those paid either by the

  Plaintiff or her insurer provided the submission of a statement from the provider that the amount

  paid is accepted in full satisfaction of its billing.

  PERMANENT PARTIAL IMPAIRMENT RATINGS ARE NOT RELEVANT

          Plaintiff’s expert, Dr. Richard Hastings, provided opinion evidence of the percentages of

  permanent partial disability allegedly resulting from Plaintiff’s injuries. These ratings were

  based on the AMA Guides to the Evaluation of Permanent Impairment (5th Edition). Use of the

  AMA guides is required in determining the extent of permanent impairment or disability in

  Oklahoma workers’ compensation claim. 85A O.S. § 45 C. Application of the guides results in


          2 The Court cited Mascenti v. Becker, 237 F.3d 1223, 1241 (10th Cir. 2001) for the rule
  that “the admissibility of evidence in diversity cases in federal court is generally governed by
  federal law. Nevertheless, it is well recognized that Congress did not intend the procedural rules
  to preempt the so-called "substantive" state rules of evidence, such as the parol evidence rule, the
  collateral source rule, or the statute of frauds; although the application of these rules will affect the
  admissibility of some evidence, they in reality serve substantive state policies regulating private
  transactions.”
Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 5 of 7




  the determination of the amount of compensation for impairment to earnings suffered by an

  employee as determined by a formula set out under both the former and present Oklahoma’s

  Workers Compensation Acts. See, e.g.85A O.S. § 45. In Thompson v. Walton, 1956 OK 173,

  297 P.2d 1084, 1088 the Court found that damages “in a case of this kind are not measured under

  the rules applicable in workmen's compensation cases.” However, the Court held that the error

  was not prejudicial since it went to the issue of impairment to earning capacity. Plaintiff in the

  present matter before this Court is not alleging a loss or impairment to earning capacity as an

  element of damages. The impairment opinion evidence has no relevance to the issues to be

  determined at trial.

         Unlike Oklahoma Workers’ Compensation Act, damages are not awarded based upon a

  determination of the percentage of permanent impairment or disability alleged to have been

  sustained by Plaintiff. The action instituted by Plaintiff is for Defendant’s alleged breach of the

  insurance contract. Plaintiff contends that Defendant has failed to pay that what should be due

  under the underinsured motorist coverage of the contract for damages she sustained as a result of

  the subject motor vehicle accident. In contract actions the general “measure of damages . . . is

  the amount which will compensate the party aggrieved for all the detriment proximately caused

  thereby, or which, in the ordinary course of things, would be likely to result therefrom. No

  damages can be recovered for a breach of contract, which are not clearly ascertainable in both

  their nature and origin.” Title 23 O.S. § 21. Since the claim for damages sought from Defendant

  result from the negligence of the other driver in the vehicle, the measure of tort damages “is the

  amount which will compensate for all detriment proximately caused thereby, whether it could

  have been anticipated or not.” Title 23 O.S. § 61. The application of either damage rule does not

  depend upon the determination of the percentage of impairment under the AMA guides.
Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 6 of 7




  Relevant evidence must have “any tendency to make a fact more or less probable than it would

  be without the evidence; and . . . the fact is of consequence in determining the action.” Rule 401,

  Federal Rules of Evidence. While irrelevant evidence is not admissible, Fed. R. Evid 402, even

  relevant evidence can be excluded if its probative value is outweighed by the danger of “unfair

  prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

  presenting cumulative evidence.” Impairment to earnings or earning capacity is not an issue

  presented by this litigation. Admission of evidence of a non-issue should be denied.

  CONCLUSION

         Only medical bills which have been paid by Medicare or Plaintiff’s other health

  insurance are admissible at trial when there is also evidence that Plaintiff will not be liable for

  any amount over that accepted by the medical provider in full satisfaction of the obligation.

         Plaintiff has not included, as an item of damage, impairment to earning capacity.

  Introduction of evidence of impairment in the form of the AMA guidelines to permanent

  impairment are therefore not relevant to any issue to be determined in this action and should be

  excluded.

                                                 Respectfully submitted,

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Case 4:17-cv-00547-JED-JFJ Document 31 Filed in USDC ND/OK on 06/12/18 Page 7 of 7




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of June 2018, I electronically transmitted the foregoing
  document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
  Electronic Filing to the following ECF registrants:

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